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/E/L/qu::); `/§/)
LORENZO WEBB, .IUDGMENT IN A CIVIL CASW`
Plaintiff,
V.
CoRRECTIONS CORPORATION CASE No= 1=03-1230-13
oF AMERICA, et al.,
Def`endants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS S() ORDERED AND AD.TUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on .Iuly 6, 2005, this cause is hereby dismissed with prejudice.

AP R()VED:

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NIEL BIiEEN `\
TED STATES DISTRICT COURT

 

  
  
  

rI-loms M. aoum
Clerk of Court

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(By) Deputy Clerk

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with Flufe 58 and,'or_79 (a) FRCP on

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This notice confirms a copy of the document docketed as number 41 in
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Honorable J. Breen
US DISTRICT COURT

